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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF OKLAHOMA

1) JAMES LEGROS, SR. and                           )
2) JACQUELINE MILIOTO, as next                     )
   friend to D.M., a minor, as next of kin         )
   of JAMES LEGROS, JR., deceased.                 )
                                                   )
         Plaintiffs,                               )
                                                   )   Case No. 18-CV-261-RAW
 v.                                                )
                                                   )
1) BOARD OF COUNTY                                 )
   COMMISSIONERS FOR                               )
   CHOCTAW COUNTY;                                 )
2) TERRY PARK, in his Individual and               )
   Official Capacities;                            )
3) EDNA CASEY, in her Individual and               )
   Official Capacities;                            )
4) SCHONNA SMITH, in her Individual                )
   Capacity;                                       )
5) JEFFERY EPLEY, in his Individual                )
   Capacity;                                       )
6) STEWART STANFIELD, in his                       )
   Individual Capacity;                            )
7) ZACH       DILLISHAW,    in    his              )
   Individual Capacity; and                        )
8) DEBORA CLAY, in her Individual                  )
   Capacity,                                       )
                                                   )
         Defendants.                               )

  NOTICE AND JOINT MOTION TO STAY DEADLINES PENDING SETTLEMENT

        COME NOW the Plaintiffs and Defendants and give notice to the Court of the settlement

of this matter and jointly move to stay all deadlines sixty (60) days pending final approval of

settlement. In support of this request, the parties state as follows:

        1.      On September 6, 2019, the parties reached a settlement of this matter, pending the

appointment of a personal representative over the estate of James Legros, Jr.
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        2.        Plaintiffs are in the process of completing the appointment a personal

representative.

        3.        There are pending deadlines before the Court as well as various motions filed by

the parties.

        4.        The parties do not wish to burden the Court with additional filings or for rulings on

pleadings, in light of the pending settlement.

        5.        The parties anticipate completing the necessary documentation to conclude

settlement within sixty (60) days.

        6.        A proposed Order is submitted herewith.

        WHEREFORE, premises considered, the Parties respectfully request that the Court enter

an Order staying all deadlines 60 days.

                                                        Respectfully submitted,

                                                        /s/James L. Gibbs, II
                                                        James L. Gibbs, II, OBA #15689
                                                        Seth D. Coldiron, OBA #20041
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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 16, 2019, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants:

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                                                  /s/James L. Gibbs, II
